           Case 1:18-cv-12321-NMG Document 37 Filed 03/19/21 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA, et al.,
 ex rel. JANE DOE,

                                 Plaintiffs,
                                                               No. 1:18-cv-12321-NMG
 v.

 AMGEN, INC., et al.,
                                 Defendants.


                            NOTICE OF CONSENT TO DISMISSAL

          On March 11, 2021, the relator filed a Notice of Voluntary Dismissal of this action.

Pursuant to the Massachusetts False Claims Act, M.G.L. c. 12, § 5C(2), the Commonwealth of

Massachusetts (the “Commonwealth”) hereby notifies the Court that the Attorney General of the

Commonwealth consents to the dismissal of this action without prejudice to the rights of the

Commonwealth.

          The Commonwealth has conferred with attorneys representing each of the named

plaintiff States of Alaska, California, Colorado, Connecticut, Delaware, Florida, Georgia,

Hawaii, Illinois, Indiana, Iowa, Louisiana, Maryland, Michigan, Minnesota, Montana, Nevada,

New Jersey, New Mexico, New York, North Carolina, Oklahoma, Rhode Island, Tennessee,

Texas, Vermont, and Washington; the Commonwealths of Massachusetts and Virginia; and the

District of Columbia (hereafter the “States”). The States have indicated that they join the

Commonwealth in consenting to the dismissal of this action without prejudice to the rights of the

States.
         Case 1:18-cv-12321-NMG Document 37 Filed 03/19/21 Page 2 of 2




                                              Respectfully submitted,
                                              COMMONWEALTH OF MASSACHUSETTS
                                              MAURA HEALEY
                                              ATTORNEY GENERAL


Dated: March 19, 2021                 By:     /s/ Stephany G. Collamore
                                              STEPHANY G. COLLAMORE (BBO No. 677032)
                                              Assistant Attorney General
                                              Medicaid Fraud Division
                                              Office of the Attorney General
                                              One Ashburton Place, 18th Floor
                                              Boston, MA 02108
                                              (617) 963-2532
                                              Stephany.Collamore@mass.gov




                                 CERTIFICATE OF SERVICE

I hereby certify that on this 19th day of March 2021, a copy of the foregoing “Notice of Consent
to Dismissal” was filed through the court’s electronic filing system. Notice of this filing will be
sent to counsel of record through the court’s electronic filing system and by email.

                                              /s/ Stephany G. Collamore




                                                 2
